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                  In the United States District Court
                     Western District of Michigan
UNITED STATES OF AMERICA,                Crim. No. 20-183-2

      Plaintiﬀ,                          HON. ROBERT J. JONKER
v.

BARRY GORDON CROFT, JR.,

      Defendant.


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                              QUESTION PRESENTED

      Do the press and the public have a common-law right of access to the exhibits which,
although not ﬁled on Pacer, were admitted into evidence at Mr. Croft’s detention?




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       BuzzFeed respectfully submits this Memorandum in support of its Motion for

Access to Detention Hearing Exhibits under Local Criminal Rule 12.1.

                             PRELIMINARY STATEMENT
       The public has a substantial interest in closely observing the administration of

justice in the prosecutions against the men accused of plotting to kidnap the governor of

Michigan and privately try her for treason. In a case of such gravity, judicial and

prosecutorial accountability are of paramount importance. The public has a right to be

satisﬁed that the defendants are treated fairly, that their rights are respected, and that

justice is done. This necessitates public access to all proceedings and to all evidence

admitted for and against the defendants in open court.

       Until now, the public has had access to the exhibits oﬀered at the preliminary

hearing and the detention hearings in these cases. That has changed with Mr. Croft’s

detention hearing. The Government oﬀered nine exhibits—photographs, decrypted text

messages, audio recordings, and video—to support its request that Mr. Croft be detained

pending trial. The Court accepted those exhibits into evidence and expressly relied on them

when it granted the Government’s motion and ordered Mr. Croft detained pending trial.

       BuzzFeed seeks access to those exhibits to vindicate the public’s right of access.

BuzzFeed is a global news organization and the world’s leading independent digital media

company. As a member of the press, it has standing to pursue access to judicial records,

including exhibits used in criminal cases. See Globe Newspaper Co. v. Superior Ct., 457

U. S. 596, 609 n. 25 (1982); Nixon v. Warner Commn’cs, Inc., 435 U. S. 589, 594–596

(1978); United States v. Beckham, 789 F. 2d 401, 403 (CA6 1986).

       The press and the public have a common-law right of access to the evidence

admitted at Mr. Croft’s detention hearing. The purpose of a detention hearing is to judge

whether the defendant is such a ﬂight risk or danger to the community that no

combination of conditions could reasonably assure the defendant’s appearance or the



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safety of the community. 18 U. S. C. § 3142(e). The standard for detention is the second

highest standard in the land—clear and convincing evidence, 18 U. S. C. § 3142(f)(2)(B)—

which reﬂects “the value society places on individual liberty.” Addington v. Texas, 441

U. S. 418, 425 (1979). The recordings were the prime evidence supporting pretrial

detention. Detention Hrg. Tr. 59:13–67:21, ECF 152, PageID.829–37. Without access to

that evidence, the public cannot assess whether the Court properly detained Mr. Croft

pending trial. An independent judiciary is a hallmark of republican government, but

independence is not freedom from scrutiny. Given the presumption of access, and the

important role that access plays in self-government, the Court should grant access to the

requested evidence.

                                       ARGUMENT

  I.   The press and the public have a common-law right of access to the evidence
       admitted at the detention hearing.

       The Court should grant access to the evidence admitted at Mr. Croft’s detention

hearing under the common-law right of access recognized in Nixon. Nixon, 435 U. S., at

597 (the courts “recognize a general right to inspect and copy public records and

documents, including judicial records and documents”). This ancient right existed long

before the founding of our republic, and it is essential to informed self-government. Id., at

598 (this right allows “the citizen . . . to keep a watchful eye on the workings of public

agencies, and [the] newspaper publisher . . . to publish information concerning the

operation of government.” Id., at 598 (cleaned up). “A responsible press has always been

regarded as the handmaiden of eﬀective judicial administration, especially in the criminal

ﬁeld. Its function in this regard is documented by an impressive record of service over

several centuries.” Sheppard v. Maxwell, 384 U. S. 333, 350 (1966). When a party wants

to deny public access to judicial records, a court must weigh the party’s interests in light

of the public’s interest and the duty of the court. Beckham, 789 F. 2d, at 409.




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       A.     The parties’ interest

       The parties will likely assert Mr. Croft’s interest in a fair trial. BuzzFeed

acknowledges and respects that interest, but merely incanting it is inadequate. The

parties must show how the release of the exhibits from the detention hearing poses a

substantial risk of prejudice to a fair trial. Similar audio, visual, or documentary evidence

admitted at the other defendants’ detention hearings having already been released, the

court should demand a serious explanation as to why the incremental release of these

additional records would prejudice Mr. Croft.

       When BuzzFeed asked for copies of the exhibits, the Government declined to

release them, stating that “the timing of [this] request, the exhibits, defendant, and
defense counsel are diﬀerent,” without further elaboration. 1 EXHIBIT 1, Emails between

Breane K. Warner, Public Information Oﬃcer for the U.S. Attorney’s Oﬃce for the

Western District of Michigan, and Ken Bensinger, Reporter for BuzzFeed News (Mar. 9–

12, 2021). The Government did not explain why these points should aﬀect the public’s

common-law right of access in this instance. Ibid. As to the timing of the request, a trial

in this case is most assuredly more than year away—there are hundreds, possibly

thousands, of hours of recordings, PHT 245:5–10, ECF 54, PageID.286, and thousands of

communications, PHT 121:25–122:9, ECF 39, PageID.153–54, that the parties must

review. Such remoteness between the publication and the future trial date renders any

concern over a compromised jury venire entirely speculative. As to the content of the


   1   The Government also informed BuzzFeed that Mr. Croft’s codefendants were
aﬀorded an opportunity to object to disclosure before the conclusion of the hearing in
October 2020. EXHIBIT 1. Although there is no indication in the record of such an
opportunity being aﬀorded, see Preliminary Hrg. Tr. (“PHT”) Vol. I, ECF 39; PHT Vol.
II, ECF 54; Fox Detention Hrg. Tr. (“DHT”), ECF 55; Franks DHT, ECF 56; Caserta
DHT, ECF 59; Harris DHT, ECF 60; and Garbin DHT, ECF 62, the Government informed
BuzzFeed during the concurrence conference that the attorneys discussed and approved
the release of exhibits with the court in chambers. BuzzFeed therefore focuses only on the
other justiﬁcations given.

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exhibits, they are not so diﬀerent from the evidence released after the codefendants’

preliminary hearing and detention hearings that there is a greater risk of prejudice to Mr.

Croft than to his codefendants. Finally, BuzzFeed is aware of no caselaw holding that the

mere identity of a criminal defendant and his attorney, without more, is suﬃcient to

overcome the public’s common-law right of access.

       During the concurrence conference, Mr. Croft advanced nothing more than a

general fear of prejudice and an inability to release discovery records to contextualize the

recordings and show that they were taken out of context. Protective Order ¶¶ 2, 4, ECF

107, PageID.615–16. BuzzFeed takes no position on the terms of the protective order but

notes that Mr. Croft is free to ask the Court to revisit his detention at any time and would

be free to present the contextualizing evidence in support of that request. 18 U. S. C.

§ 3145(b).

       For its part, the Government expressed during the concurrence conference a

general concern over a potential appellate or habeas issue from prejudicial pretrial

publicity. If this case results in a guilty plea, the Rule 11 will almost certainly contain an

appellate waiver that would sharply limit, if not practically eliminate, Mr. Croft’s ability

to challenge the release of the exhibits. See, e.g., Garbin Rule 11, ECF 142, PageID.755–

56. If the case goes to trial and Mr. Croft is convicted, there is little risk of reversal over

the disclosure of the exhibits.
        “Prejudice resulting from pretrial publicity can be presumptive or actual.” Foley v.

Parker, 488 F. 3d 377, 387 (CA6 2007). “Prejudice from pretrial publicity is rarely

presumed.” Ibid. It requires an inﬂammatory circus-like atmosphere. See, e.g., Irvin v.

Dowd, 366 U. S. 717, 725 (1961) (carnival barker reporting and a barrage of provocative

stories, cartoons, and statements from law enforcement showing a “pattern of deep and

bitter prejudice”); Sheppard, 384 U. S., at 345–49 (summarizing a pattern of inflammatory

news coverage and a fête-like jury site visit to a murder scene with hundreds of reporters

and cameramen); Estes v. Texas, 381 U. S. 532 (1965) (presumptive pretrial prejudice


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from coverage of the jury venire consisting of “12 cameramen . . . taking motion and still

pictures and televising the proceedings [with c]ables and wires . .. snaked across the

courtroom ﬂoor [and] three microphones . . . on the judge’s bench [while] others were

beamed at the jury box and the counsel table”). This is not BuzzFeed’s aim.

       Where pretrial prejudice cannot be presumed, the primary tool used to discern

whether actual prejudice exists is a searching voir dire of prospective jurors to determine

whether there is “community-wide sentiment” against the defendant. Foley, 488 F. 3d, at

387. “Mere prior knowledge of the existence of the case, or familiarity with the issues

involved, or even some preexisting opinion as to the merits, does not in and of itself raise a

presumption of [a tainted jury].” Ibid. (cleaned up). Moreover, the community from
which the jury venire is drawn consists of 24 counties stretched across roughly 250 miles

with a population in excess of 2.1 million people. Compare Juror Selection Plan ¶ 4.a,

https:// perma.cc/U3CW-YS8X, with Oﬃce of State Demographer, Michigan Population

by County 2019 (Mich. Dept. of Mgmt. & Budget Apr. 1, 2021), https://perma.cc/H3GP-

USUL. It is exceptionally unlikely that publication of detention hearing exhibits in the

ordinary course of journalism would prevent the Court from seating an unbiased jury

drawn from this District. Therefore, the Court should not ﬁnd that a generalized concern

about prejudicial pretrial publicity outweighs the public’s common-law right of access.


       B.     The public’s interest

       The public’s interest here is in judicial oversight. “People in an open society do not

demand infallibility from their institutions, but it is diﬃcult for them to accept what they

are prohibited from observing.” Press-Enter. Co., 478 U. S., at 13. Public access is “an

inestimable safeguard against the corrupt or overzealous prosecutor and against the

compliant, biased, or eccentric judge.” Id., at 12–13. “Closed trials breed suspicion of

prejudice and arbitrariness, which in turn spawns disrespect for law.” Richmond

Newspapers, Inc. v. Virginia, 448 U. S. 555, 595 (1980) (Brennan, J., concurring). As


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Judge Damon Keith famously observed in a case about secret hearings, “democracies die

behind closed doors . . . When government begins closing doors, it selectively controls

information rightfully belonging to the people. Selective information is misinformation.”

Detroit Free Press v. Ashcroft, 303 F. 3d 681, 683 (CA6 2002). These precepts apply

equally to evidence admitted in court but suppressed from public view.

        BuzzFeed does not contend that the magistrate judge made the wrong call in

ordering Mr. Croft to be detained pending trial. Rather, it contends that the public has

been deprived of judging for itself whether her call was the right one or the wrong one

under the circumstances. The magistrate judge ordered Mr. Croft to be detained even

though he is presumed innocent and must be admitted to bail unless there are no

combination of conditions that could reasonably assure his appearance and the safety of

the community. 18 U. S. C. § 3142(b), (c), (e), and ( j). Without seeing the evidence that

she relied upon, it is impossible for the public to decide whether the detention order was

appropriate or the product of politics given the identity of the alleged victim—the

governor of Michigan. Defense counsel have argued that these men were targeted for

prosecution because they have unapologetically exercised their Second Amendment

rights, while exercising their First Amendment rights to assemble and vehemently express

antigovernment viewpoints, at a time when government has suppressed civil liberties on a

scale never before countenanced in this country. See, e.g., PHT 242:14–253:1, ECF 54,
PageID.283–94 (defendants’ arguments against bindover). The Government contends

this is an apolitical prosecution where pretrial detention is warranted not because of the

defendants’ political views but because there is evidence that they will use violence to

advance those views if admitted to bail. See, e.g., id., at 253:24–257:10, ECF 54,

PageID.294–98 (Government’s rebuttal in favor of bindover). Given the underlying

political dynamic, it is vital the public be allowed to see the evidence and decide for itself

whether the Court has maintained its independence and neutrality in such an important

case.


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       C.     The court’s duty

       It is the duty of the trial court “to exercise an informed discretion as to release of

the tapes, with a sensitive appreciation of the circumstances that led to their production.”

Beckham, 789 F. 2d, at 409 (cleaned up). The Court must weigh several factors when

exercising its discretion, including “the court’s supervisory powers, the amount of beneﬁt

to the public from the incremental gain in knowledge that would result from [releasing the

requested records], the degree of danger to the defendants or persons speaking on the

tapes, the possibility of improper motives on the part of the media such as promoting

public scandal or gratifying private spite, and any special circumstances in the particular

case.” Ibid. When weighing these factors together, with no one factor being conclusive,

courts must apply a presumption in favor of access. Ibid. “A mere articulation of rational

justiﬁcations will not suﬃce in this context. A district court must set forth substantial

reasons for denying such requests.” Id., at 413 (emphasis added).

       Without having seen or heard the evidence, it is diﬃcult for BuzzFeed to address

some of these factors. For example, BuzzFeed cannot speak to the degree of danger to the

defendants or persons speaking on the tapes without having seen or heard the recordings.

It can, however, analogize to the recordings that the Government introduced in October

and provided to the press, the release of which posed no danger to the defendants or third

parties. Absent exceptional facts that are not in the record, it is diﬃcult to conceive how

the audio/visual evidence admitted at Mr. Croft’s detention hearing would pose a danger.

       Other factors, however, favor release of the exhibits. The public would beneﬁt

because access is the only way that the public can truly decide whether the magistrate

judge made an independent, neutral, and individualized assessment of Mr. Croft’s alleged

risk of ﬂight and dangerousness to the community. There is also a rising perception of

politically driven prosecutions. 2 Such polarized times call for greater transparency, not

   2  See, e.g., Hauslohner, ʻThis is a political prosecution’: After its members were
charged in the Capitol riot, one group says it is more popular than ever, The Washington

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less, to maintain the public’s trust in the judicial system, especially in a case where, as

here, the defendants are exposed to life sentences. 18 U. S. C. § 1201(c) (conspiracy to

kidnap is punishable by life or any term of years). BuzzFeed’s stated purpose serves that

legitimate aim. And the mere fact that the evidence could be published does not, alone,

risk prejudice to Mr. Croft’s interest in a fair trial. As the Sixth Circuit noted in Beckham,

“sensational publicity does not necessarily deprive a defendant of a fair trial, nor does the

broadcast of evidence necessarily interfere with a trial.” 789 F. 2d, at 410 n. 3. See also

Argument I.A, supra (discussing the standards for prejudice from pretrial publicity). And,

as noted earlier, a trial in this case is most assuredly more than year away. Such

remoteness between publication and the future trial date renders any concern over a

compromised jury venire entirely speculative.

       BuzzFeed also notes that there have been a series of high-proﬁle cases within the

last year where courts have ordered the release of recordings to the press. See, e.g., Order

Granting Motion of Media Coalition to Obtain Copies of Publicly-Filed, Body-Worn

Camera Video Evidence, Minnesota v. Lane, No. 27-cr-20-12951 (Hennepin County Dist.

Ct. Aug. 7, 2020) (ordering the release of body camera footage of an oﬃcer involved in the

detention and arrest of George Floyd), available at https://publicaccess.courts.state.mn.

Post, Apr. 8, 2021, 2021 WLNR 11375778; Hurt, FBI’s political jihad against American
white whales, Washington Times, Apr. 2, 2021, 2021 WLNR 10695748; McArdle, Lack
of Dem Indictments in Flint Water Probe Raises Concerns About Political Prosecution,
National Review, Jan. 24, 2021, http://bit.ly/NatRevFlint; Currier, St. Louis judge
disqualiﬁes Kimberly Gardner, her oﬃce from prosecuting McCloskey gun-waving case,
St. Louis Post-Dispatch, Dec. 11, 2020, 2020 WLNR 35400710 (“Circuit Judge Thomas
Clark II’s order said two fundraising emails that Gardner’s reelection campaign sent in
response to political attacks before and after she charged Mark and Patricia McCloskey
with felony gun crimes in July raised the appearance that she ʻinitiated a criminal
prosecution for political purposes.’”); Mack, Alan Dershowitz to Newsmax TV: NRA
Move Political Prosecution, Newsmax, Aug. 6, 2020, 2020 WLNR 22207484 (“New
York Attorney General Letitia James’ announcement of a lawsuit to dissolve the National
Riﬂe Association (NRA) reeks of selective prosecution that is being weaponized
politically, according to legal expert Alan Dershowitz on Newsmax TV”).

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us/DocumentSearch; Milston, Police footage in Acevedo death to be released, judge rules,

Fox6 News Milwaukee, May 5, 2021, https://perma.cc/F9VW-7B3L (ordering the release

of redacted body camera footage in the case of an oﬀ-duty police oﬃcer involved in a fatal

shooting). The Government also recently dropped its opposition to the release of

recordings used in the detention hearings of people charged in connection with the protest

on Capitol Hill in January and has agreed to provide copies to the press. In re Application

of CNN, No. 21-mc-00034 (DDC Apr. 27, 2021), ECF 8, https://perma.cc/UN7M-3RLX.

       With the presumption in favor of access, the weighty public interests at stake, and

the factors of the balancing test supporting disclosure, the Court should order the
Government to provide copies of the detention hearing exhibits to vindicate BuzzFeed’s

common-law right of access.


                                     CONCLUSION

       For these reasons, BuzzFeed respectfully requests that the Court grant its motion

and order that it be given copies of the exhibits admitted into evidence at Mr. Croft’s

detention hearing.
                                           Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE
      Under Local Criminal Rule 47.2(b)(ii), BuzzFeed certiﬁes that this brief contains
2,974 countable words, as calculated by the word count feature of the Microsoft Oﬃce
365 version of Microsoft Word.
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